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                                                                                         FILED by    YH     D.C.



                                                                                            Jul 18,2019
                                                                                          ANGELA E. NOBLE
                           UNITED STA TES DISTRICT COURT                                  CLERK U.S. DIST. CT.
                                                                                          S.D. OF FLA - MIAMI
                           SOUTHERN DISTRICT OF FLORIDA

                              CASENO:       19-20443-CR-BLOOM/LOUIS
                                           18 u.s.c. § 371
                                           22 u.s.c. § 2778

 UNITED STATES OF AMERICA

vs.

CRISTIAN GERMAN BARRERA,

                              Defendant.



                                         INDICTMENT

       The Grand Jury charges:

                                 GENERAL ALLEGATIONS

       At all times material to this Indictment:

                                 The Statutes and Regulations

       1.      In furtherance of the national security and foreign policy interests of the United

States, the Arms Export Control Act ("the Act"), Title 22, United States Code, Section 2778,

authorizes the President of the United States to control the export of "defense articles" from the

United States. The Act required that defense articles may only be exported after obtaining a

license in accordance with the Act and regulations issued under it. 22 U.S.C. § 2778(b)(2).

       2.      The regulations promulgated pursuant to the Act, known as the International Traffic

in Arms Regulations ("ITAR"), defined exporting to include, among other things, " [s ]ending or

talcing a defense article out of the United States in any maimer." 22 C.F.R. § 120.17.

       3.     The IT AR defined a defense article as any item on the United States Munitions List

("USML"). The USML set forth 21 categories of defense articles subject to export licensing
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 controls by the United States Department of State's Directorate of Defense Trade Controls

 ("DDTC"). 22 C.F.R. § 121.1.

        4.      No defense article could be exported or otherwise transferred from the United

 States to a foreign country without prior license or written approval from DDTC. 22 C.F.R. §§

 123.l(a), 127.l(a)(l).   The ITAR also prohibited re-exports, transfers, transshipments, and

diversions from foreign countries of previously exported defense articles without United States

Department of State authorization. 22 C.F.R. § 123.9(a).

                                       The Defense Articles

        5.      The following parts for AR-15 assault rifles were defense articles designated on the

USML in Category I, and could not be exported from the United States without a license or written

approval from DDTC: upper receivers, lower receivers, bolt carrier groups, and trigger kits.

Neither CRISTIAN GERMAN BARRERA (BARRERA) nor any of his co-conspirators ever

obtained a license from DDTC to export any parts for AR-15 assault rifles.

                                            COUNT 1

        1.      Paragraphs 1 through 5 of the General Allegations are restated and re-alleged as if

fully set forth herein.

        2.      From in or around May 2017, through on or about June 5, 2018, in Palm Beach and

Miami-Dade Counties, in the Southern District of Florida, and elsewhere, the defendant,

                               CRISTIAN GERMAN BARRERA,

did knowingly and willfully combine, conspire, confederate and agree with another person known

to the Grand Jury, to commit offenses against the United States, namely, to knowingly and willfully

export and cause the export of defense articles from the United States to a place outside thereof,


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without having first obtained a license or written approval from DDTC, in violation of Title 22,

United States Code, Section 2778, and Title 22, Code of Federal Regulations, Sections 121.1,

 123.1, and 127.1.

                                    Purpose of the Conspiracy

        3.      It was the purpose of the conspiracy for the defendant and his co-conspirator to

obtain in the United States defense articles, including various parts for the AR-15 assault rifle, in

order to illegally export them, to a place outside the United States, that is, the Republic of

Argentina, without obtaining the necessary export license or written approval from the DDTC.

                                        Manner and Means

        4.      The manner and means by which the defendant and his co-conspirator sought to

accomplish the purpose and object of the conspiracy included, among others, the following:

        a.      BARRERA and his co-conspirator obtained in the United States numerous defense

articles including AR-15 assault rifle parts, with the intent to export them without obtaining the

required licenses and approvals.

        b.      BARRERA and his co-conspirator attempted to arrange the smuggling to the

Republic of Argentina of defense articles, including the AR-15 assault rifle parts, falsely labeling

the contents.

        c.      BARRERA and his co-conspirator undertook these activities willfully and without

obtaining the required licenses and approvals from DDTC.

                                             Overt Acts

        5.      In furtherance of the conspiracy and to effect its purpose and object, at least one of

the co-conspirators committed, or caused to be committed, in the Southern District of Florida, and


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elsewhere, at least one of the following overt acts:

        a.         On or about May 15, 2018, BARRERA delivered to a U.S. Post Office facility in

Florida one shipment containing numerous parts for AR-15 assault rifles for export outside the

United States.

        b.         On or about May 29, 2018, BARRERA delivered to a U.S. Post Office facility in

Florida one shipment containing numerous parts for AR-15 assault rifles for export outside the

United States ..

        All in violation of Title 18, United States Code, Section 3 71.

                                             COUNT2

        On or about May 15, 2018, in Palm Beach and Miami-Dade Counties, in the Southern

District of Florida, and elsewhere, the defendant,

                                CRISTIAN GERMAN BARRERA,

did knowingly and willfully attempt to export defense articles, that is, approximately five (5) upper

receivers and five (5) lower receivers for AR-15 assault rifles, from the United States to a place

outside thereof, that is, the Republic of Argentina, without having first obtained a license or written

approval from the United States Department of State, Directorate of Defense Trade Controls, in

violation of Title 22, United States Code, Section 2778(c), Title 22, Code of Federal Regulations,

Sections 121.1, and 127.l(a)(l); and Title 18 United States Code, Section 2.

                                             COUNT3

        On or about May 29, 2018, in Palm Beach and Miami-Dade Counties, in the Southern

District of Florida, and elsewhere, the defendant,

                                CRISTIAN GERMAN BARRERA,


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did knowingly and willfully attempt to export defense articles, that is, approximately twenty-five

(25) trigger kits and ten (10) bolt carrier groups for AR-15 assault rifles, from the United States to

a place outside thereof, that is, the Republic of Argentina, without having first obtained a license

or written approval from the United States Department of State, Directorate of Defense Trade

Controls, in violation of Title 22, United States Code, Section 2778( c), Title 22, Code of Federal

Regulations, Sections 121.1, and 127.l(a)(l); and Title 18 United States Code, Section 2.

                                FORFEITURE ALLEGATIONS

        1.     The allegations of this Indictment are re-alleged and by this reference fully

incorporated herein for the purpose of alleging forfeiture to the United States of America of

property in which the defendant has an interest.

       2.      Upon conviction of a violation of Title 22, United States Code, Section 2778, as

alleged in Counts 2 through 3 of this Indictment, or any conspiracy to commit such violation, as

alleged in Count 1, the defendant, CRISTIAN GERMAN BARRERA, shall forfeit to the United

States (1) any property, real or personal, which constitutes or is derived from proceeds traceable

to such violation, pursuant to Title 18, United States Code, Section 981(a)(l)(C), and (2) all arms

or munitions of war and other articles that are intended to be or are being or have been exported

or removed from the United States, and any vessel, vehicle and aircraft containing the same which

has been or is being used in exporting or attempting to export the same, pursuant to Title 22, United

States Code, Section 401.




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       All pursuant to Title 18, United States Code, Section 981 (a)(l )(C) and Title 22, United

States Code, Section 401 , and the procedures set forth at Title 21, United States Code, Section 853,

as made applicable by Title 28, United States Code, Section 246l(c).

                                              &TP~




ARIANA FAJARDO ORSHA
UNITED STATES ATTORNEY



       #L
RICARDO A. DEL TORO
ASSISTANT UNITED STATES ATTORNEY




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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                     CASE NO.
vs.
                                                                  CERTIFICATE OF TRIAL ATTORNEY*
CRISTIAN GERMAN BARRERA,
         Defendant.
___________________!                                              Superseding Case Information:

Court Division: (Select One)                                     New Defendant(s) Yes __ No
                                                                 Number of New Defendants
         Miami      X           Key West                         Total number of counts
         FTL                    WPB            FTP

         I do hereby certify that:
         1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
                  witnesses and the legal complexities of the Indictment/Information attached hereto.

         2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
                   setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C.
                   Section 3161.

         3.        Interpreter:     (Yes or No)           Yes
                   List language and/or dialect           Spam sh
         4.        This case will take      ___s__      days for the parties to try.

         5.        Please check appropriate category and type of offense listed below:
                   (Check only one)                                        (Check only one)


         I         0    to 5 days             x                            Petty
         II        6    to 10 days                                         Minor
         III       11    to 20 days                                        Misdem.
         IV        21    to 60 days                                        Felony             x
         v         61   days and over

         6.        Has this case been previously filed in this District Court?          N~o_ _    (Yes or No)
         If yes:
         Judge:                                                        Case No.
                   (Attach copy of dispositive order)
         Has a complaint been filed in this matter?        ...Ys<L   (Yes or No)
         If yes:
         Magistrate Case Nos.                           _l9_-_m_d_-0_3_0_7_2_-J_B_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         Related Miscellaneous numbers:
         Defendant(s) in federal custody as of          07/1172019
                                                        -------------------------~
         Defendant(s) in state custody as of
         Rule 20 from the District of

         Is this a potential death penalty case?        No           (Yes or No)

         7.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                   October 14, 2003? _ _Yes           _x.__             No
         8.        Does this case originate from a matter pending in the Central Regi
                   September 1, 2007?          ___ Yes          X      No



                                                                  RICARDO A.      L TORO
                                                                  ASSIST ANT UNITED STA TES ATTORNEY
                                                                  Florida Bar No.957585
Penalty Sheet(s) attached                                                                                       REV 4/8/08
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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                 PENALTY SHEET


     Defendant's Name: CRISTIAN GERMAN BARRERA



     Count#: 1

     Conspiracy to Violate AECA

     Title 18, United States Code, Section 371

     * Max. Penalty: 5 Years' Imprisonment
     Count#: 2-3

     Attempted Violation of AECA

     Title 22, United States Code, Section 2778(c)

     *Max. Penalty: 20 Years' Imprisonment

     Count#:




     *Max. Penalty:

     Count#:




     *Max. Penalty:
         *Refers only to possible term of incarceration. does not include possible fines, restitution. special
         assessments, parole terms or forfeitures that may be applicable




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II
I
